Case: 1:18-cv-00146-RP Doc #: 1 Filed: 07/30/18 1 of 18 PageID #: 1
Case: 1:18-cv-00146-RP Doc #: 1 Filed: 07/30/18 2 of 18 PageID #: 2
Case: 1:18-cv-00146-RP Doc #: 1 Filed: 07/30/18 3 of 18 PageID #: 3
Case: 1:18-cv-00146-RP Doc #: 1 Filed: 07/30/18 4 of 18 PageID #: 4
Case: 1:18-cv-00146-RP Doc #: 1 Filed: 07/30/18 5 of 18 PageID #: 5
Case: 1:18-cv-00146-RP Doc #: 1 Filed: 07/30/18 6 of 18 PageID #: 6
Case: 1:18-cv-00146-RP Doc #: 1 Filed: 07/30/18 7 of 18 PageID #: 7
Case: 1:18-cv-00146-RP Doc #: 1 Filed: 07/30/18 8 of 18 PageID #: 8
Case: 1:18-cv-00146-RP Doc #: 1 Filed: 07/30/18 9 of 18 PageID #: 9
Case: 1:18-cv-00146-RP Doc #: 1 Filed: 07/30/18 10 of 18 PageID #: 10
Case: 1:18-cv-00146-RP Doc #: 1 Filed: 07/30/18 11 of 18 PageID #: 11
Case: 1:18-cv-00146-RP Doc #: 1 Filed: 07/30/18 12 of 18 PageID #: 12
Case: 1:18-cv-00146-RP Doc #: 1 Filed: 07/30/18 13 of 18 PageID #: 13
Case: 1:18-cv-00146-RP Doc #: 1 Filed: 07/30/18 14 of 18 PageID #: 14
Case: 1:18-cv-00146-RP Doc #: 1 Filed: 07/30/18 15 of 18 PageID #: 15
Case: 1:18-cv-00146-RP Doc #: 1 Filed: 07/30/18 16 of 18 PageID #: 16
:18-cv-00146-RP Doc #: 1 Filed: 07/30/18 17 of 18 Page
Case: 1:18-cv-00146-RP Doc #: 1 Filed: 07/30/18 18 of 18 PageID #: 18
